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                 EXHIBIT 71
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                               SETTLEMENT AND RELEASE AGREEMENT


                This Settlement and Release Agreement ("Agreement") is entered into on this 22 11" day of
         June, 2007, by and between the United States Department of Justice Drug Enforcement
         Administration (hereinafter the "DEA") and AmerisourceBergen Drug Corporation (hereinafter
         "AmerisourceBergen") (each a "Party" and collectively the "Parties").

                                                APPLICABILITY

                  The Agreement shall be applicable to the AmerisourceBergen drug distribution centers
         listed in Exhibit A and AmerisourceBergen's subsidiary, J.M . Blanco, Inc., registered in
         Guaynabo, Puerto Rico.

                                                 BACKGROUND

                WHEREAS, on April 19, 2007, the DEA, by its Deputy Administrator, Michele M.
         Leonhart, issued an Order to Show Cause and Immediate Suspension of Registration ("Order")
         to AmerisourceBergen, solely with respect to its Orlando distribution center located at 2100
         Directors Row, Orlando, Florida 32809 (the "Orlando Facility"); and

                 WHEREAS, the Order alleged, among other things, AmerisourceBergen failed to
         maintain effective controls at the Orlando Facility against diversion of particular controlled
         suhstances into other than legitimate medical, scientific and industrial channels by sales to
         certain customers of AmerisourceBergen; and

                 WHEREAS, after service of the Order on AmerisourceBergen, on April 24, 2007,
         representatives of DEA and AmerisourceBergen entered into discussions on how best to resolve
         the issues raised in the Order; and

                WHEREAS, on April 27, 2007, the DEA and AmerisourceBergen entered into an Order
         of Special Dispensation and Agreement, allowing for limited distribution ofcontrollecl
         substances out of the Orlando Facility (the "Modified Order"); and

                WllEREAS, the DEA and AmerisourceBergen desire to settle and resolve all outstanding
         claims and/or issues with respect to the Order and Modified Order, among other matters.

                NOW, TII EREFORE, in consideration of the mutual covenants and agreements
         contained herein, and for other good and valuable consideration, the receipt of which is hereby
         acknowledged, and intending to be legally bound hereby, the Parties hereto agree as follows :




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                                                      I. General

                  l. Intention of Parties to Effect Settlement. In order to avoid the uncertainty and expense
         of litigation, the Parties agree to resolve this matter according to the Terms and Conditions
         below .

                 2. No Admission or Concession. This Agreement is neither an admission of liability hy
         AmerisourceBergen nor a concession by the DEA that its claims in the Order and the Modified
         Order arc not well-founded, and AmerisourceBergen expressly denies the DEA 's allegations set
         forth in the Order and the Modified Order.

                 3. Covered Conduct. "Covered Conduct" shall mean (i) the conduct alleged in the Order
         and/or the Modified Order, (ii) the alleged failure of AmerisourceBergen to maintam adequate
         controls against diversion of controlled substances, on or prior to May 22, 2007, at the Orlando
         facility and all other distribution facilities controlled by AmerisourceBergen, with respect to all
         sales of Automation of Reports and Consolidated Orders System ("ARCOS")-rcportablc
         controlled substances, benzodiazepines and phentermine; and (iii) the alleged failure to detect
         and report suspicious orders of sales of the control led substances set forth in subsection 1(3 )(ii)
         of this Agreement, as required by 21C.F.R.§1301.74(b).


                                              II. Terms and Conditions



                  (a) AmerisourceBergen agrees to maintain a compliance program designed to detect and
         prevent diversion of controlled substances, which shall apply to the Orlando Facility and all
         other existing and foture distribution centers of AmerisourceBergen in the United States and its
         territories and possessions, which AmerisourceBergen shall revise as appropriate.

                 (b) AmerisourceBergen shall: (i) provide to DEA Headquarters within two business days
         following the date of sale a report of all controlled substance transactions through Electronic
         Data Interchange in a format mutually and reasonably agreed upon by the Parties. This
         information will be based on raw sales data and is not reconciled in the manner that ARCOS data
         is reconciled; and (ii) inform DEA of suspicious orders as required by 21 C .F.R. § 130 l.74(b) in
         a format mutually and reasonably agreed upon by the Parties, except that AmerisourceBergen
         shall inform DEA Headquarters of suspicious orders, unless and until advised otherwise in
         writing by DEA Headquarters. The obligations contained in this paragraph shall remain in full
         force and effect for a period of five (5) years from the Effective Date of this Agreement, and
         thereafter shall remain in full force and effect unless tem1inated and revoked by either party upon
         thirty (30) days written notice.

               (c) Any material breach of subsections II(! )(a) or (b) of this Agreement by
         AmerisourceBergen after DEA restores the Orlando facility's registration may be a basis upon
         which DEA can issue an Order to Show Cause seeking the revocation of the DEA certificate of




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         registration associated with the Distribution Center whose conduct is related to the material
         breach of the agreement.

                2. Obligations of DEA.

                 (a) The DEA shall continue to provide diversion prevention and awareness training, as
         practicable, to retail pharmacy industry members at AmerisourceBergen trade shows and through
         written materials.

                 (b) The DEA agrees to accept at DEA Headquarters the information regarding suspicious
         orders as described in subsection II(l)(h)(ii) of this Agreement.

                 (c) On or before August 24, 2007, the DEA shall conduct reviews of the functionality of
         AmerisourceBergen's diversion compliance program ("Compliance Reviews") at up to five
         distribution centers of AmerisourceBergen, consisting of the distribution centers located in
         Orlando, Florida; Sugar Land, Texas; Williamston, Michigan; and two other distribution centers
         selected by the DEA, and shall also review the investigatory files of the customers serviced by
         the distribution centers subject to the Compliance Reviews that are maintained by
         AmerisourceBergen's Corporate Security & Regulatory Affairs Department in Chesterbrook,
         Pennsylvania. The DEA shall notify AmerisourceBergen no less than 48 hours prior to
         commencing a Compliance Review at a distribution center. The DEA shall issue a Notice of
         Inspection to AmerisourceBergen upon commencement of a Compliance Review. During the
         course of the Compliance Review, if requested, AmerisourceBergen shall provide the DEA with
         information related to the sales from February 24, 2007, to the date of the Compliance Review
         by the particular distribution center being reviewed of ARCOS-reportable controlled substances,
         benzodiazepine and phentennine. At the conclusion of each Compliance Review, the DEA shall
         conduct an exit interview with an appropriate AmerisourceBergen representative to provide
         DEA's preliminary conclusions regarding the Compliance Review. The DEA may also conduct
         an additional Compliance Review of the Orlando Facility no later than November 24, 2007.
         During the course of the Compliance Reviews of the Orlando Facility, AmerisourceBergen shall
         also provide the DEA with infomiation related to the sales, from the date of this Agreement to
         the date of the Compliance Review of the Orlando Facility, of listed chemicals as defined at 21
         U.S.C. §§ 802(33), (34), & (35) and 21 C.F.R. §§ 1300.02(b)(l8) & (19). Notwithstanding the
         provisions of this paragraph, DEA retains the right to investigate any registered location as
         authorized by law.

                 (d) By no later than 12:01 a.m. on August 25, 2007, DEA shall dissolve the Order and the
         Modified Order and, if AmerisourceBergen files a renewal application on or before July 3 I,
         2007, DEA shall grant such application for renewal, unless the Compliance Reviews described in
         subsection II(2)(c) of this Agreement are not deemed satisfactory by DEA. The Compliance
         Reviews will be deemed satisfactory unless DEA determines that one or more of the facilities
         being inspected has (i) failed to maintain effective controls against diversion regarding the
         distribution of any ARCOS-reportable controlled substance, phenterminc, or any
         benzodiazepines; (ii) failed to report to DEA suspicious orders of controlled substances; (iii)
         failed to meaningfully investigate new or existing customers regarding the customer's legitimate
         need to order or purchase controlled substances; (iv) failed to maintain cffecti ve controls at the



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         Orlando Facility regarding the distribution of listed chemicals as defined at 21 U.S.C. §§
         802(33), (34), & (35) and 21 C.F.R. §§ 1300.02(b)(l8) & (19); or (v) failed to report to DEA
         suspicious orders of listed chemicals as defined at 21 U.S.C. §§ 802(33), (34), & (35) and 21
         C.F.R. §§ 1300.02(b)(l8) & (19) at the Orlando Facility. The Compliance Reviews shall be
         deemed not satisfactory if DEA provides written notice with specificity to AmerisourceBergen
         on or before August 22, 2007, stating that AmerisourceBergen failed to meet any of the
         requirements in either subsections II(2)(d)(i), (ii), or (iii) of this Agreement. DEA shall not find
         a Compliance Review "not satisfactory" unless the failure(s) are sufficient to provide DEA with
         a factual and legal basis for issuing an Order to Show Cause under 21 U.S.C. § 824(a) against
         one or more of the inspected facilities. In the event that DEA provides such written notice of a
         Compliance Review Failure(s), DEA shall meet and confer with AmerisourceBergen within 48
         hours regarding such a finding. The DEA shall consider remedial measures which
         AmerisourceBergen has instituted since May 22, 2007, in determining whether the Compliance
         Reviews are satisfactory. A finding of satisfactory docs not otherwise express DEA's approval
         of the compliance program implemented at any particular distribution center.

                 (e) Upon execution of this Agreement, DEA authorizes the Orlando Facility to distribute
         listed chemicals as defined at 21 U.S.C. §§ 802(33), (34), & (35) and 21 C.F.R. §§
         1300.02(b)( 18) & ( 19), notwithstanding the Order and Modified Order served upon the Orlando
         Facility.

                 (f) The Orlando Facility failed to file a renewal application for its DEA registration at
         least 45 days prior to the expiration of its current DEA registration. If AmerisourceBergen files
         a renewal application for the Orlando facility prior to July 31, 2007, the expiration date of its
         current DEA registration, DEA hereby extends the Orlando Facility registration up to and
         including August 24, 2007, unless otherwise extended. This extension of the registration is for
         the sole benefit of AmerisourceBergen to allow its Orlando Facility to operate under the
         Modified Order and tenns of the Agreement during the Compliance Reviews described in
         subsection Il(2)(c) of this Agreement. If the Compliance Reviews are not satisfactory under the
         standard set forth in subsection II(2)(d) of this Agreement, the Orlando Facility's DEA
         registration shall expire on the date on which DEA provides written notice to
         AmerisourceBergen of the findings of the Compliance Reviews. Under such circumstances, the
         Orlando Facility's DEA registration shall expire on the date of said written notice due to
         AmerisourceBergen 's failure to submit a renewal application at least 45 days prior to the
         expiration of its current DEA registration as required by 21 C.F.R. § 130 l.36(i), notwithstanding
         the temporary extension of the its registration pursuant to this subsection.



                (a) AmerisourceBergen and the DEA agree that:

                      (i) upon the execution of this Agreement, AmerisourceBergen shall file an
         unopposed motion to stay all further proceedings related to the Order until no earlier than August
         25 , 2007;




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                         (ii) upon the satisfactory completion of the Compliance Reviews described in
         subsections Il(3)(d) and (e) of this Agreement, the Immediate Suspension Order shall be
         rescinded and withdrawn by the DEA, and the DEA and AmerisourceBergen shall file and serve
         a Joint Motion to Terminate the Proceedings related to the Order to Show Cause as described in
         subsection III( l 0) of this Agreement.

                 (b) DEA and AmerisourceBergen shall meet no less than annually at DEA Headqua1iers
         to discuss: (i) suggestions for improvements in AmerisourceBergen's compliance program to
         detect and prevent diversion of controlled substances; (ii) any concerns of the DEA related to the
         sales pattern of controlled substances by AmerisourceBergen; and (iii) any other issues of
         concern to either Party.

                 4. Release by the DEA. (i) In consideration of the obligations of AmerisourceBergen
         under this Agreement, the DEA releases AmerisourceBergen, together with its officers, directors,
         employees, successors and assigns (collectively, the "Released Parties") from the claims set forth
         in the Order and/or the Modified Order, and from any claims that the DEA has or may have
         under any law, rule or regulation including, without limitation, Sections 303, 304 and 402 of the
         Act, 21 U.S.C. §§ 823, 824 and 842, for the Covered Conduct. (ii) This release is applicable
         only to the Released Parties and is not applicable in any manner to any other individual,
         partnership, corporation, or entity. With the exception of the U.S. Attorney's office in and for
         the Middle District of Florida with respect to potential civil proceedings regarding the Orlando
         Facility, the DEA represents and warrants that it has not previously referred and agrees not to
         refer the Covered Conduct for further administrative, civil or criminal proceedings to the
         Department of Justice, any United States Attorney's Office, any attorney general or any other
         law enforcement, administrative, or regulatory agency of the United States or any State thereof.
          (iii) Notwithstanding the release by DEA contained in paragraph II(4) of this Agreement, DEA
         may seek to admit evidence of the Covered Conduct for other proper evidentiary purposes in an
         Administrative Proceeding concerning non-Covered Conduct. Nothing in paragraph II(4) shall
         prohibit any other agency within the Department of Justice, any United States Attorney's Office,
         any attorney general, or any other Jaw enforcement, administrative, or regulatory agency of the
         United States or any State thereof, from initiating administrative, civil, or criminal proceedings
         with respect to the Covered Conduct. DEA may, and shall as obligated in fulfilling its statutory
         duties, assist and cooperate with any other agency within the Department of Justice, any United
         States Attorney's Office, any attorney general, or any other law enforcement, administrative, or
         regulatory agency of the United States or any State thereof, that initiates an investigation, action,
         or proceeding involving the Covered Conduct.

                   5. Release by AmerisourceBergen. With the exception of the U.S. Attorney's office in
          and for the Middle District of Florida with respect to potential civil proceedings regarding the
          Orlando Facility, AmerisourceBergen fully and finally releases the United States, its agencies,
          employees, servants, and agents from any claims (including attorney's fees, costs, and expenses
          of every kind and however denominated) which AmerisourceBergen has asserted, could have
          asserted, or may assert in the future against the United States, its agencies, employees, servants,
          and agents, related to the Covered Conduct and the United States' investigation and prosecution
          thereof.




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                   6. Reservation of Claims. Notwithstanding any tenn of this Agreement, specifically
           reserved and excluded from the scope and terms of this Agreement as to any entity or person
           (including AmerisourceBergen) are the fol!owing:

                   (a) Any civil, criminal or administrative liahility arising under Title 26, U.S. Code
           (Internal Revenue Code);

                 (b) Any liability to the United States (or its agencies) for any conduct other than the
           Covered Conduct subject to paragraph II( 4) of this Agreement; or

                  (c) Any liability based upon such obligations as are created by this Agreement.


                                                    Ill. Miscellaneous

                  1. Binding on Successors. This Agreement is binding on AmerisourceBergen, and its
           respective successors, heirs, transferees, and assigns.

                  2. Costs. Each Party to this Agreement shall bear its own legal and other costs incurred
           in connection with this matter, including the preparation and perfomrnncc of this Agreement.

                   3. No Additional Releases. This Agreement is intended to be for the benefit of the
           Parties and the Released Parties only, and by this instrument the Parties do not release any claims
           against any other person or entity other than the Released Parties.

                   4. Effect of Agreement. This Agreement constitutes the complete agreement between
           the Parties. Al l material representations, understandings, and promises of the Parties arc
           contained in this Agreement, and each of the parties expressly agrees and acknowledges that,
           other than those statements expressly set forth in this Agreement, it is not relying on any
           statement, whether oral or written, of any person or entity with respect to its entry into this
           Agreement or to the consummation of the transactions contemplated by this Agreement. Any
           modifications to this Agreement shall be set forth in writing and signed by all Parties.
           AmerisourceBergen represents that this Agreement is entered into with advice of counsel and
           knowledge of the events described herein. AmerisourceBergen further represents that this
           Agreement is voluntarily entered into in order to avoid litigation, without any degree of duress or
           compulsion.

                  5. Execution of Agreement. This Agreement shall become effective (i&_, final and
           binding) upon the date of signing by the last signatory (the "Effective Date").

                 6. Disclosure. AmerisourceBergen and the DEA may each disclose the existence of this
           Agreement and information about this Agreement to the public without restriction.

                  7. ~_xec:.utLon in Countcivarts. This Agreement may be executed in counterparts, each of
           which constitutes an original, and all of which shall constitute one and the same agreement.




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                8. Authorizations. The individuals signing this Agreement on behalf of
         AmerisourceBergen represent and warrant that they are authorized by AmerisourceBergen to
         execute this Agreement. The individuals signing this Agreement on behalf of the DEA represent
         and warrant that they are signing this Agreement in their official capacities and that they are
         authorized to execute this Agreement.

                9. Choice of Law and Venue. This Settlement Agreement and Release shall be
         construed in accordance with the laws of the United States. The Parties agree that the jurisdiction
         and venue for any dispute arising between and among the Parties under subsections II(2)(a-d) of
         this Agreement will be the United States District Court or, as appropriate, in the Court of Federal
         Claims, in which the AmerisourceBergen distribution facility(s) at issue is located. This
         provision, however, shall not be construed as a waiver of the jurisdictional provisions of the
         Controlled Substances Act.

                 l 0. Joint Motion to Terminate Proceedings. Upon the satisfactory completion of the
          Compliance Reviews, and no later than August 27, 2007, the DEA and AmerisourceBergen shall
          promptly sign and file with the Administrative Law Judge, Drng Enforcement Administration a
          Joint Motion to Tenninatc Proceedings related to the Order to Show Cause.

                  11. Change in Law or Regulation. In the event that a change in law or regulation would
          impose fewer or Jess onerous diversion control procedures on other wholesalers or distributors of
          controlled substances and listed chemicals, the DEA agrees to meet with AmerisourceBergen to
          discuss possible modifications to the requirements under this Agreement.

                   12. Acquisition or Business Combination. AmerisourceBergen may, in the event of an
          acquisition or other business combination of another drug distributor/wholesaler(s), integrate that
          distributor/wholesaler(s) into the AmerisourceBergen compliance program referenced in
          subsection IT( l )(a) of this Agreement. Notwithstanding integration into AmerisourceBergen 's
          compliance program, any specific limitations or restrictions that DEA has placed upon the drug
          distributor/wholesaler(s) or upon its/their DEA registration(s) shall remain in full force and
          effect, unless modified in writing by DEA. Requests for modification of any such restriction or
          agreement shall be submitted by AmerisourceBergen to DEA Headquarters, Office of Diversion
          Control. This provision, however, does not otherwise express DEA's approval of the compliance
          program implemented by AmerisourceBergen.


                                  [Remainder of this page left intentionally blank.]




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                IN WITNESS WHEREOF, the Parties hereto have duly executed this Settlement and
         Release Agreement as of the date written above.

         AMERISOURCEBERGEN DRUG CORPORATION



          BY:~~:~ ~~~~-
                 Terrance P. Haas
                 President, AmerisourceBergen Drug Corporation




          Dated : June2'2.., 2007




          THE lJNITED STATES DEPAl~TMENT OF JUSTICE
          DRUG ENFORCEMENT ADMINISTRATION




                 Deputy Admini      ator
                 Drug Enforcement Administration




                 Drug Enforcement Administration

          Dated: June;>
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CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                       ABDCMDL00279861
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                                   EXHIBIT A
                                            (3 pages)




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Pl0032627          AM:RISOURCEBERGEN DRUG CORP      JUL-31-2007    JUN-12-2006             SEP-30-2005   2 3 3N 4 5
                   322 N 3RD STREET
                   PADUCAH, KY 42001
RA0129937          AM:RJSOURCEBERGEN DRUG CORP      JUL-31-200 7   JUN-12-2006             SEF-30-2005   2 3 3N 4 5
                   100 FRIARS BLVD
                   THOROFARE. NJ 08086
RA0210409          AM:RISOURCEBERGEN DRUG CORP      JUL-31-2007    JUN-12-2006             SEP-30-2005   2 3 3N 4 5
                   2100 DIRECTORS ROW
                   ORLANDO, Fl 32809
RA0223432          A f.ERJSOURCEBERGEN DRUG CORP    JUL-3 1-2007   JUl\t-12-2006           SEP-30-2005   2 3 3N 4 5
                   172 CAHABA VALLEY A<WY
                   PELHAM. AL 35124
RA0289000          Alvt:RJSOURCEBERGEN DRUG CORP    JUL-31-2007    JUN-12-2006             SEP-30-2005   2 3 3N 4 5
                   9900 J.E.8. Sn.JART PARK.WAY
                   GLEN ALLEN, VA 23059
RA0289036          A M:RISOURCEBERGEN DRUG CORP     JUL-31 -2007   JUN-12-2006             SEP-30-2005   2 3 3N 4 5
                   8605 EBENEZER CHURCH RD
                   RAL8GH. NC 27617                                                                                             Cl'.'.
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                   HONOLULU, HI 96819
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                   CORONA , CA 92881                                                                                           u
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                   24903 AVENUE KEARNY                                                                                         0
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                   VALENCIA, CA 91355                                                                                          0..
RA0269086      AM:RISOURCEBERGEN DRUG CORP          JUL-31-2007    JUN-12-2006             SEP-30-2005   2 3 3N 4 5            0
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RA0289276     Al>.ERJSOURCEBERGEN DRUG CORP   JUL-31-2007    JUN-12-2006             SEF-30-2005   2 3 3N 4 5
              12727 WEST ARPORT BLVD
              SUGAR LANO, TX 7_
                              7478
RA029 0522    A M:RSOURCEBERGEN DRUG CORP     JUL-31-2007    JUN-12-2006             SEP-30-2005   2 3 3N4 5
              8190 LACKLAND RO
              ST LOU~. MJ 63114
RA0290724     Alvffi!SOURCEBERGEN DRUG CORP   JUL-31 -2007   JUN-12-2006             SEP-30-2005   2 3 3N 4 5
              101 NORFOLK ST
              MANSFIELD. MA 02048
RA0290736     A~ISOURCEBERGEN DRUG CORP       JUL-31-2007    JUN-12-2006             SEP-30-2005   2 3 3N 4 5
              1 INDUSTRIAL PARK OR
              W!LLIAMSTON, Ml 48895
RA0290837     AN'ERJSOURCEBERG8'l DRUG CORP   JUL-31-2007    JUN-12-2006             SEP-30-2005   2 3 3N 4 5
              1825 S. 43ROAVE. STE B
              PHOENIX, AZ 85009
RA0290938     A~OURCEBERGEN      DRUG CORP    JUL-31-2007    JUN-12-2006             SEP-07-2004   2 3 3N 4 5
              19220 64THAV8'JUESOLJTH
              KENT, WA 98032
RA0290988     Al.ERl.SOURCEBERGEN DRUG CORP   JUL-31 -2007   JUN-12-2006             SEP-30-2005   2 3 JN 4 5
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              1325 WEST STRIKER AVE                                                                                         w
              SACRAMENTO, CA 95834                                                                                          I-
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RA03 14562    ArvBmOffiCEEERGBll DRUG CORP    JUL·31·2007    JUN-12-2006             SEP-30-2005   2 2N3 3N4 5              0::
              6305 LASALLE DR                                                                                               Cl.
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R.A.0316958   A M:Rl SOURCE 8 ERGEN DRUG      JUL-31 ·2007   JUN-12·2006             SEP-30-2005   2 3 3N4 5                I-
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DEA Number   Name I Address                  Expiration     Last Renewal   Admln   Admln                 Drug
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             CORroRATON
             1001 WESTTAYLORROAD
             ROM:OVl!.LE, IL 60446
RA0326276    A~OURCEBERGEN DRUG,             .!UL-31-2007   JUN-12-2005            SEFl-30-2005          2 3 3N 4 5
             CORl'QRA OON
             11200 NORTH CONGRESS A V ENUE
             KANSAS CITY , MO 64153
RA0336924    A~OURCS3ERGEN CRUG      CORP    JUL-31 ·2007   JUN-12-2006                                  2 2N 3 3N 4 5
             5100 JAINDL BLVD.
             BETHLB-'.EM, PA 18017
RBJ161733    A~OURCEBERGEN DRUG CORP         JUL-31-2007    JUN-12-2006            SEP-30-2005           2 3 3N 4 5
             6610 SKA.DY. OAK RD
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